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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

JEROME M. HOLMES,                                §
                                                 §
       Plaintiff,                                §
                                                 §   Civil Action No. ________________
v.                                               §
                                                 §
SHELLPOINT MORTGAGE SERVICING,                   §   With Jury Demand Endorsed
LLC,                                             §
                                                 §
       Defendant.                                §

                                         COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       Plaintiff, Jerome M. Holmes ("Plaintiff"), by and through counsel, and for his Complaint

against Defendant, Shellpoint Mortgage Servicing, LLC (“Shellpoint” or “Defendant”) states as

follows:

                                       I. INTRODUCTION

       1.      Plaintiff asserts claims against Defendant for violations of: 1) Texas Finance

Code § 392.001 et. seq., known as the Texas Debt Collection Act (“TDCA”); 2) 15 U.S.C. §§

1692 et seq., known as the Fair Debt Collection Practices Act (the “FDCPA”); 3) the common

law tort of invasion of privacy; and 4) the discharge injunction of the United States Bankruptcy

Court of the Southern District of Texas, Houston Division, and seeks to recover actual, statutory,

and punitive damages; injunctive relief; legal fees and expenses against Defendant.

                                           II. PARTIES

       2.      Plaintiff is a natural person residing in Harris County, Texas and is a "consumer"

as defined by the TDCA, Tex. Fin. Code § 392.001(1) and the FDCPA.


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       3.      Defendant Shellpoint is a foreign limited liability company which may be served

by delivering citation to its registered agent, Corporation Service Company, 211 E. 7th Street

Suite 620, Austin, Texas78701.

       4.      Defendant is a "debt collector" or “third-party debt collector” as these terms are

defined and contemplated, respectively, under the TDCA, Tex. Fin. Code §§ 392.001(6) and (7).

       5.      The debt at issue that Defendant was attempting to collect from Plaintiff was a

“consumer debt” as defined by Tex. Fin. Code § 392.001(2) and 15 U.S.C. § 1692a.

       6.      Defendant is a furnisher of consumer credit information to national consumer

reporting agencies Trans Union, LLC (“TransUnion”), Equifax, Inc. (“Equifax”), and Experian

Information Solutions, LLC (“Experian”).

                                  III. JURISDICTION AND VENUE

       7.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, 1334

and 1337(a) and 15 U.S.C. § 1681p and 28 U.S.C. §§2201-2202.

       8.      Venue in this district is proper because Defendant transacts business in this

district, Plaintiff resides in this district and filed his subject bankruptcy case in this district and

the conduct complained of occurred in this district.

                                    IV. FACTUAL ALLEGATIONS

A.     The Discharge of the Subject Debt in Plaintiff’s Bankruptcy Case

       9.      On September 15, 2015, Plaintiff filed for bankruptcy under Chapter 7 of the U.S.

Bankruptcy Code in case number 15-34854 (“Bankruptcy Case”) in the Southern District of

Texas, Houston Division (“Bankruptcy Court”).




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         10.   Prior to Plaintiff filing his Bankruptcy Case, Ocwen Loan Servicing, LLC

(“Ocwen”) as prior servicer of the subject debt, asserted a pre-petition claim against Plaintiff in

an attempt to collect a consumer debt he allegedly owed requiring him to pay money arising out

of transactions in which money, property, insurance, or services were the subject thereof, and the

same were primarily for personal, family, or household purposes. In his Bankruptcy Case,

Plaintiff listed the subject debt underlying the claims at issue as a secured claim on Schedule

"D," secured by a lien on the real property at 1120 Faircrest Dr., Austin, TX 78753 (the

“Property”) identified as Account No. xxxxxx7373 (the "Loan" or "Account").

         11.   In Plaintiff’s Chapter 7 Individual Debtor’s Statement of Intention filed with

bankruptcy petition, Plaintiff noted his surrender of the Property. A true and correct copy of

Plaintiff’s Statement of Intention is attached hereto as Exhibit “A” and incorporated by

reference.

         12.   On September 15, 2015, Plaintiff filed a mailing matrix with the Bankruptcy

Court that provided Ocwen’s correct address.

         13.   On September 18, 2015, the Bankruptcy Noticing Center for the Bankruptcy

Court sent a copy of the "Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors and

Deadlines" (“341 Notice”) for the Bankruptcy Case by first class mail to Ocwen as servicer and

agent of the subject debt. The 341 Notice warned all creditors in conspicuous language against

violating the automatic stay pursuant to 11 U.S.C. §362.

         14.   On October 28, 2014, Ocwen filed a Notice of Appearance in the Bankruptcy

Case.




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       15.     On December 22, 2015, the Bankruptcy Court issued an order granting Plaintiff a

discharge ("Discharge Order") (the said order followed Official Form B18, including the

explanatory language contained therein). The order discharged Plaintiff from any liability for the

subject pre-petition claim. Included with the Discharge Order was an explanation of the general

injunction prohibiting those holding pre-petition claims from attempting to collect those claims.

The Discharge Order and its notice warned all creditors in conspicuous language that

“Collection of Discharged Debts Prohibited” and that “a creditor is not permitted to contact a

debtor by mail, phone, or otherwise…or take any other action to collect a discharged debt from

the debtor.”

       16.     On December 22, 2015, the Bankruptcy Noticing Center sent a copy of the

Discharge Order to Ocwen, by electronic transmission via its attorney of record. This mailing

constituted notice to Ocwen, of the discharge granted in Plaintiff’s Bankruptcy Case and the

replacement of the automatic stay with the discharge injunction of 11 U.S.C. §524(a).

       17.     A true and correct copy of the Discharge Order is attached hereto as Exhibit “B.”

       18.     At no time during the pendency of the Bankruptcy Case did Ocwen, Defendant, or

any other person or entity object to or dispute the details of the subject claim contained in

Schedule “D” to Plaintiff’s Petition filed in his Bankruptcy Case.

       19.     At no time during the pendency of the Bankruptcy Case or thereafter did Plaintiff

reaffirm the subject claim or debt with any person or entity.

       20.     At no time during the pendency of Plaintiff’s Bankruptcy Case was the subject

pre-petition claim declared to be non-dischargeable by the Bankruptcy Court.

B.     Defendant’s Attempts to Collect the Subject Discharged Debt from Plaintiff



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       21.     Following the December 22, 2015 discharge being granted in Plaintiff’s

Bankruptcy Case, Defendant engaged in debt collection activity against Plaintiff on the subject

discharged debt by: (1) accepting the Account for collection; (2) sending Plaintiff mortgage

statements, notices and letters requesting Plaintiff take actions to coerce payment from him of

the subject discharged debt; and (3) calling Plaintiff repeatedly.

               1.      Defendant Accepted the Account for Collection Post-Discharge.

       22.     After the discharge was granted in Plaintiff’s Bankruptcy Case, Defendant

acquired the servicing rights on the Account and began to collect on it. Prior to or when

Defendant acquired these servicing rights, it also acquired information about the subject debt and

Plaintiff’s Bankruptcy Case and discharge of the debt underlying the Account from Ocwen, the

owner of the debt and/or independently.

       23.     Because Plaintiff never engaged in any business transactions with Defendant at

any time or requested credit from Defendant, there was never a debtor creditor relationship

between Plaintiff and Defendant.

               2.      Defendant’s Illegal Collection Calls to Plaintiff

       24.     After Plaintiff received a discharge in his Bankruptcy Case, which changed the

legal status of the Account and closed the Account by operation of law making the subject debt

legally uncollectible, Defendant called Plaintiff on one or more occasion regarding the Account

in its attempts to collect on the subject discharged debt or to coerce actions from Plaintiff to seek

payment thereof.

               3.      Defendant Sent Plaintiff Collection Statements,                Notices   and
                       Correspondences on the Account Post-Discharge.




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       25.     On or about February 16, 2016, Defendant sent Plaintiff a letter stating it was

servicing the Loan and because Plaintiff had “not taken steps to resolve the delinquency” that it

was instructed by the owner of the mortgage loan to commence foreclosure. The letter also warns

Plaintiff that “the owner of the mortgage loan may seek a deficiency judgment against you if the

proceeds from the foreclosure sale do not pay off the amount you owe on the mortgage loan.”

Further, the letter informs Plaintiff about foreclosure options such as loan modification and

informs Plaintiff that he may have received a Borrower Solicitation Package and instructs

Plaintiff to contact Defendant at the provided address and toll-free phone number to obtain

another solicitation package and to complete and send the package to Defendant in order to be

considered for alternatives to foreclosure. The letter also includes the FDCPA Mini Miranda

warning that the letter is from a debt collector and is an attempt to collect a debt.

       26.     A redacted copy of this February 16, 2016 letter Defendant sent to Plaintiff is

attached hereto as Exhibit “C.”

       27.     On or about February 22, 2016, Defendant’s loss mitigation department sent

Plaintiff a solicitation letter, stating that Defendant had “assigned a new specialist to assist

Plaintiff through the remainder of the Loss Mitigation process concerning your mortgage loan.”

The letter also states the account balance was $96,773.35, but “because of interest, late charges,

and other charges that may vary from day to day, the amount due on the day you pay may be

greater.” The letter also contains information for Plaintiff to contact Defendant and fax it

documentation. Additionally, the letter includes the FDCPA Mini Miranda warning that the letter

is from a debt collector and is an attempt to collect a debt.




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        28.     A redacted copy of the February 22, 2016 loss mitigation letter Defendant sent to

Plaintiff is attached hereto as Exhibit “D.”

        29.     On or about April 1, 2016, Defendant sent Plaintiff a letter representing that it had

received Plaintiff’s request for a loss mitigation program. It also informs Plaintiff that “[t]he

evaluation process will begin once we have received all required documentation.” The letter

also urges Plaintiff to continue making his monthly payment according to his loan agreement.

The letter also includes the FDCPA Mini Miranda warning that the letter is from a debt collector

and is an attempt to collect a debt.

        30.     A redacted copy of this April 1, 2016 loss mitigation letter is attached hereto as

Exhibit “E.”

        31.     On or about April 1, 2016, Shellpoint sent Plaintiff a second letter representing

that they have received Plaintiff’s request for loss mitigation program. It also informs Plaintiff as

follows: “The evaluation process will begin once we have received all required documentation”

and “[t]o proceed with your request for modification, you must submit the documents marked

with an “X” to Shellpoint,” which include documents containing Plaintiff’s personal and

financial information. Further, the letter came complete with a package of the documents

necessary for Plaintiff to submit to Defendant in order to begin the loss mitigation process, and it

urges Plaintiff to continue making his monthly payment according to his loan agreement. The

letter also includes the FDCPA Mini Miranda warning that the letter is from a debt collector and

is an attempt to collect a debt.

        32.     A redacted copy of this April 1, 2016 loss mitigation letter Defendant sent to

Plaintiff is attached hereto as Exhibit “F.”



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       33.     On or about May 9, 2016, Defendant sent Plaintiff a letter representing that it had

received Plaintiff’s request for a loss mitigation program. It informs Plaintiff “[w]e are unable to

offer you a loss mitigation option because you did not provide us with the documents we

requested.” It also asks Plaintiff to contact Defendant once the loan has been reinstated if he

experiences further financial hardships for reconsideration.

       34.     A redacted copy of this May 9, 2016 letter is attached hereto as Exhibit “G.”

       35.     On or about May 10, 2016, Defendant sent Plaintiff a “MORTGAGE

STATEMENT,” complete with payment coupon and return envelope, stating “Next Due Date

05/10/2016 and Amount Due $145,241.67” and “[i]f payment is received after 05/25/2016,

$53.84 late fee may be assessed.” In the Statement, the “Explanation of Amount Due” Section

also specifically demands a “Total Amount Due $145,241.67,” comprised of an “Overdue

Payment $145,241.67” and a “Regular Monthly Payment $1,395.08.” The Statement also

contains a **Delinquency Notice” informing Plaintiff his is “late” on his “mortgage payments”

and that “failure to bring your loan current may result in fees and foreclosure” and that “[a]s of

04/23/2016, you are 2,448 days delinquent on your mortgage loan.” Additionally, the Statement

threatens that “a negative credit report reflecting on your credit report may be submitted to a

credit reporting agency if you fail to fulfill the terms of your credit obligations.”

       36.     A redacted copy of the May 10, 2016 Statement Defendant sent to Plaintiff has

been attached hereto as Exhibit "H."

       37.     On or about June 02, 2016, Defendant sent Plaintiff a “MORTGAGE

STATEMENT,” complete with payment coupon and return envelope, stating “Next Due Date

06/10/2016 and Amount Due $146,759.43” and “[i]f payment is received after 06/25/2016,



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$53.84 late fee may be assessed.” In the Statement, the “Explanation of Amount Due” Section

also specifically demands a “Total Amount Due $146,241.67,” comprised of an “Overdue

Payment $145,310.51” and a “Regular Monthly Payment $1,395.08.” The Statement also

contains a **Delinquency Notice” informing Plaintiff his is “late” on his “mortgage payments”

and that “failure to bring your loan current may result in fees and foreclosure” and that “[a]s of

06/02/2016, you are 2,488 days delinquent on your mortgage loan.” Additionally, the Statement

threatens that “a negative credit report reflecting on your credit report may be submitted to a

credit reporting agency if you fail to fulfill the terms of your credit obligations.”

       38.     A redacted copy of this June 2, 2016 Statement Defendant sent to Plaintiff has

been attached hereto as Exhibit "I."

       39.     On or about July 11, 2016, Defendant, through its attorneys Mackie Wolf Zientz

& Mann, P.C., sent Plaintiff a “NOTICE OF ACCELERATION OF LOAN MATURITY”

stating “the total balance due as of the date of this notice is $172,325.51” and that “[p]ayment

must be made by cashier’s check, certified check or money orders.” Further, the notice states

“[a]ll unpaid principal and accrued interest on the Note are due and payable at this time.” Also,

the notice states that if Plaintiff does not dispute the “validity of the debt, or any portion thereof,

within thirty days (30) after receipt of this notice,” it “will be assumed valid by the firm.” The

notice also states “THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT THE

DEBT AND ANY INFORMATION OBTAINED BY IT WILL BE USED FOR THAT

PURPOSE.”

       40.     A redacted copy of the July 11, 2016 notice is attached hereto as Exhibit “J.”




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       41.     On or about August 28, 2016, Defendant sent Plaintiff a “MORTGAGE

STATEMENT,” complete with payment coupon and return envelope, stating “Next Due Date

09/10/2016 and Amount Due $151,151.19” and “[i]f payment is received after 09/25/2016,

$53.84 late fee may be assessed.” In the Statement, the “Explanation of Amount Due” Section

also specifically demands a “Total Amount Due $151,151.19,” comprised of an “Overdue

Payment $149,702.27” and a “Regular Monthly Payment $1,395.08.” The Statement also

contains a **Delinquency Notice” informing Plaintiff his is “late” on his “mortgage payments”

and that “failure to bring your loan current may result in fees and foreclosure” and that “[a]s of

08/28/2016, you are 2,575 days delinquent on your mortgage loan.” Additionally, the Statement

threatens that “a negative credit report reflecting on your credit report may be submitted to a

credit reporting agency if you fail to fulfill the terms of your credit obligations.”

       42.     A redacted copy of this August 28, 2016 Statement has been attached hereto as

Exhibit "K."

                                 V. GROUNDS FOR RELIEF – COUNT I

                 TEXAS FINANCE CODE – TEXAS DEBT COLLECTION ACT (TDCA)

       43.     Plaintiff repeats, re-alleges, and incorporates by reference all of the above

paragraphs referenced above as if fully rewritten here.

       44.     Defendant has violated the Texas Finance Code in numerous ways including, but

not limited to, the following:

               a)      Tex. Fin. Code § 392.301(a)(8), which prohibits Defendant from taking an

       action prohibited by law, since Defendant's attempts to collect the discharged debt

       constituted a violation of the bankruptcy discharge injunction currently in place and a



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       violation of Plaintiff’s privacy rights, such actions also constituted a violation of the

       Texas Finance Code;

               b)      Tex. Fin. Code § 392.304(a)(8), which prohibits Defendant from

       misrepresenting the character, extent, or amount of the subject debt, or misrepresenting

       the status of the debt in a judicial or governmental proceeding, since continuing to send

       statements and notices to Plaintiff showing a past-due balance due representing that such

       debt was collectible and enclosing a remittance coupon and return envelope and making

       collection calls to Plaintiff, as if he was liable to pay the discharged debt, Defendant was

       misrepresenting that the debt on the Account was collectible when it was not by virtue of

       the discharge injunction; and;

               c)       Tex. Fin. Code § 392.304(a)(19), which prohibits Defendant's use of false

       representations or deceptive means to collect a debt, for the same reasons as stated in the

       preceding paragraph, Defendant used false representations that the discharged debt was

       still owed by Plaintiff and/or deceptive means to collect a debt, since the debt on the

       Account was discharged and uncollectible.

       45.     Under Tex. Fin. Code Ann. § 392.403, the said violations render Defendant liable

to Plaintiff for actual damages, statutory damages, for injunctive relief, costs, and reasonable

attorney's fees. Plaintiff’s injuries resulted from Defendant's gross negligence, malice, and/or

actual fraud, which entitles Plaintiff to punitive damages.

       46.     Due to Defendant's conduct, Plaintiff was forced to hire counsel and his damages

include reasonable attorney's fees incurred in prosecuting this claim.

                                VI. GROUNDS FOR RELIEF - COUNT II



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                        FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)

       47.     Plaintiff alleges and incorporates herein all of the above paragraphs as if set forth

in their entirety. Plaintiffs assert claims against Shellpoint only under the FDCPA.

       48.     The Fair Debt Collection Practices Act ("FDCPA") is a comprehensive statute

which prohibits a catalog of activities in connection with the collection of debts by third parties.

See 15 U.S.C. § 1692 et seq. The FDCPA imposes civil liability on any person or entity that

violates its provisions, and establishes general standards of debt collector conduct, defines abuse,

and provides for specific consumer rights. See 15 U.S.C. §1692k. The operative provisions of the

FDCPA declare certain rights to be provided to or claimed by debtors, forbid deceitful and

misleading practices, prohibit harassing and abusive tactics, and proscribe unfair or

unconscionable conduct, both generally and in a specific list of disapproved practices.

       49.     In particular, the FDCPA broadly enumerates several practices considered

contrary to its stated purpose, and forbids debt collectors from taking such action. The

substantive heart of the FDCPA lies in three broad prohibitions. First, a "debt collector may not

engage in any conduct the natural consequence of which is to harass, oppress, or abuse any

person in connection with the collection of a debt." 15 U.S.C. §1692d. Second, a "debt collector

may not use any false, deceptive, or misleading representation or means in connection with the

collection of any debt." 15 U.S.C. §1692e. Third, a "debt collector may not use unfair or

unconscionable means to collect or attempt to collect any debt." 15 U.S.C. §1692f. The FDCPA

is designed to protect consumers from unscrupulous collectors, whether or not there exists a

valid debt, broadly prohibits unfair or unconscionable collection methods, conduct which




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harasses, oppresses or abuses any debtor, and any false, deceptive or misleading statements in

connection with the collection of a debt.

       50.     In enacting the FDCPA, the United States Congress found that "[t]here is

abundant evidence of the use of abusive, deceptive, and unfair debt collection practices by many

debt collectors," which "contribute to the number of personal bankruptcies, to marital instability,

the loss of jobs, and to invasions of individual privacy." 15 U.S.C. §1692a. Congress additionally

found existing laws and procedures for redressing debt collection injuries to be inadequate to

protect consumers. See 15 U.S.C. §1692b.

       51.     Congress enacted the FDCPA to regulate the collection of consumer debts by debt

collectors. The express purpose of the FDCPA is to "eliminate abusive debt collection practices

by debt collectors, to ensure that debt collectors who refrain from using abusive debt collection

practices are not competitively disadvantaged, and to promote consistent State action to protect

consumers against debt collection abuses." 15 U.S.C. §1692e.

       52.     The FDCPA is a strict liability statute, which provides for actual and statutory

damages upon the showing of a single violation. See Bentley v. Great Lakes Collection Bureau, 6

F.3d 60, 62-3, (2d Cir. 1993); see also Taylor v. Perrin, Landry, DeLaunay & Durand, 103 F.3d

1232 (5th Cir. 1997). "Because the Act imposes strict liability, a consumer need not show

intentional conduct by the debt collector to be entitled to damages." Russell v. Equifax A.R.S., 74

F.3d 30 (2d Cir. 1996); see also Gearing v. Check Brokerage Corp., 233 F.3d 469 (7th Cir.

2000) (holding unintentional misrepresentation of debt collector's legal status violated FDCPA);

Clomon v. Jackson, 988 F.2d 1314 (2d Cir. 1993).




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       53.     The FDCPA is a remedial statute and therefore must be construed liberally in

favor of the debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 1235 (W.D. Wash. 2006). The remedial

nature of the FDCPA requires that courts interpret it liberally. Clark v. Capital Credit &

Collection Services, Inc., 460 F.3d 1162 (9th Cir. 2006). "Because the FDCPA, like the Truth in

Lending Act (TILA) 15 U.S.C. §1601 et seq., is a remedial statute, it should be construed

liberally in favor of the consumer." Johnson v. Riddle, 305 F.3d 1107 (10th Cir. 2002).

       54.     The FDCPA is to be interpreted in accordance with the "least sophisticated

consumer" standard. See Brown v. Card Serv. Ctr, 464 F.3d 450, 453 fn1 (3d Cir. 2006);

Graziano v. Harrison, 950 F.2d 107, 111, fn5 (3rd Cir. 1991). The FDCPA was not "made for

the protection of experts, but for the public - that vast multitude which includes the ignorant, the

unthinking, and the credulous, and the fact that a false statement may be obviously false to those

who are trained and experienced does not change its character, nor take away its power to

deceive others less experienced." Id. The least sophisticated consumer standard serves a dual

purpose in that it ensures protection of all consumers, even naïve and trusting, against deceptive

collection practices, and protects collectors against liability for bizarre or idiosyncratic

interpretations of collection notices. See Clomon, 988 F.2d at 1318.

       55.     To prohibit deceptive practices, the FDCPA, at 15 U.S.C. § 1692e, outlaws the

use of false, deceptive, and misleading representations or means in connection with the

collection of any debt and sets forth a non-exhaustive list of certain per se violations of false and

deceptive collection conduct. See 15 U.S.C. § 1692 e(1) - (16).

       56.     Upon information and belief, all of Defendant’s actions at issue described

hereinabove are the manifestation of its practices and policies to ignore the provisions of the



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Bankruptcy Code applicable to it and illegally collect or attempt to collect pre-petition debts

from unsophisticated debtors, like Plaintiff.

                               VII. GROUNDS FOR RELIEF – COUNT III

                                            INVASION OF PRIVACY

        57.     Plaintiff repeats, re-alleges, and incorporates by reference the above paragraphs

Nos. 9-42, as if fully rewritten here in their entirety.

        58.     Defendant’s conduct, as described hereinabove, when it made harassing and

illegal contacts with Plaintiff through its written demands for payment or actions to coerce

payment of the discharged debt and collection calls, constituted invasions of Plaintiff’s private

affairs. These invasions were ones that would be highly offensive to a reasonable person because

Defendant was forbidden by law to contact Plaintiff post-discharge regarding the subject debt

and Plaintiff had a reasonable basis to believe he would have such privacy and not his privacy

rights would not be invaded by Defendant’s collection attempts and harassment. Such wrongful

acts caused injury to Plaintiff which resulted in his emotional anguish, loss of time and

inconvenience.

        59.     Plaintiff’s injuries resulted from Defendant’s malice which entitles Plaintiff to

exemplary damages under Texas Civil Practice and Remedies Code §41.003(a).

                                 VIII. GROUNDS FOR RELIEF – COUNT IV

                      VIOLATION OF THE BANKRUPTCY DISCHARGE INJUNCTION

        60.     Plaintiff repeats, re-alleges, and incorporates herein all previous paragraphs above

as if set forth herein in their entirety.




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       61.        At all times material to this proceeding, Defendant had actual knowledge about

Plaintiff’s Bankruptcy Case and the discharge of the debt at issue.

       62.        Defendant, post-discharge, attempted to collect on the subject discharged debt

from Plaintiff.

       63.        Defendant failed to not engage in debt collection activity on the debt at issue

when it became aware Plaintiff filed for bankruptcy protection and the subject debt had been

discharged in Plaintiff’s Bankruptcy Case.

       64.        Defendant’s aforesaid actions were willful acts and constitute efforts to collect the

discharged debt from Plaintiff in violation the discharge injunction of 11 U.S.C. §524(a).

Defendant’s failure to comply with the aforesaid laws, in light of being on notice of Plaintiff’s

Bankruptcy Case and discharge and the effect of the discharge, illustrates its contempt for federal

law and the discharge injunction.

       65.        The actions of Defendant at issue constitute a gross violation of the discharge

injunction as set forth in 11 U.S.C. §524(a)(1)-(3).

       66.        The facts and background stated above demonstrate that Defendant willfully

violated the orders and injunctions of the Bankruptcy Court as they concern the Chapter 7

bankruptcy filed by Plaintiff. With this prima facie showing, the duty is on Defendant to show,

as its only defense, a present inability to comply with the orders and injunctions of the

Bankruptcy Court that goes beyond a mere assertion of inability. Failing a showing of a present

inability to comply with the orders and injunctions of the Bankruptcy Court by Defendant,

Plaintiff must prevail on his claims, and Defendant must be held liable for willfully violating the

orders and injunctions of the Bankruptcy Court with regard to the bankruptcy filed by Plaintiff.



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Any defense put forth by Defendant in this proceeding can only constitute a good faith

exception, as no other reasonable explanation can be made for the conduct and actions of

Defendant. Any allegation of a good faith exception should not be allowed.

       67.     Specifically, Defendant violated the part of the Bankruptcy Court’s Discharge

Order pertaining to 11 U.S.C. §524(a)(2) which “operates as an injunction against the

commencement, or continuation of an action, the employment of process, or an act, to collect,

recover or offset any such debt as a personal liability of the debtors, whether or not the discharge

of such debt is waived;…”’

       68.     No exceptions exist under 11 U.S.C. §524 or the other provisions of the United

States Bankruptcy Code or other applicable law that permit the conduct of Defendant at issue

with regard to the discharge injunction, as stated above.

       69.     The orders and injunctions of the Bankruptcy Court cannot be waived, except by

the virtue of a properly filed and approved reaffirmation agreement, motion, stipulation or

complaint. None of the aforementioned has been approved by the Court here, and no waiver of

the orders or injunctions of the Court has occurred in Plaintiff’s Bankruptcy Case as pertaining to

the rights and remedies of Defendant.

       70.     Also, there is no requirement of mitigation on the part of Plaintiff that is relevant

to violations of the orders and injunctions of the Bankruptcy Court. Any attempt to burden

Plaintiff with policing the misconduct of Defendant would be a complete derogation of the law.

It is well settled that each party to an injunction or order of the Court is responsible for ensuring

its own compliance with the injunction or order and for shouldering the cost of compliance. Any

such defense would constitute a collateral attack on the injunctions and orders of the Bankruptcy



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Court in this proceeding, which is prohibited. Any defense put forth by Defendant in this case

can only constitute a claim of mitigation, as no other reasonable explanation can be made for the

conduct and actions of Defendant. No allegation of a mitigation as a defense should be allowed.

       71.     Plaintiff has been injured and damaged by Defendant’s actions at issue and is

entitled to recover judgment against Defendant for actual damages and punitive damages, plus an

award of costs and reasonable attorney’s fees, for violations of 11 U.S.C. §524 and pursuant to

the Court’s powers under 11 U.S.C. § 105.

                                          IX. DAMAGES

       72.     In addition to any damages previously stated hereinabove, the conduct of

Defendant at issue has proximately caused Plaintiff past and future monetary loss with regard to

actions he had to take investigating his claims at bar and expenses incurred related thereto and

related to bringing this lawsuit, as well as causing him mental distress, emotional anguish and a

discernable injury to Plaintiff’s emotional state and other damages, evidence for which will be

presented to the jury.

       73.     After a reasonable time to conduct discovery in this case, Plaintiff believes he will

be able to show that all actions at issue were taken by employees, agents, servants, or

representatives of any type for Defendant in the line and scope of such individuals' (or entities’)

employment, agency, or representation.

       74.     After a reasonable time to conduct discovery, Plaintiff believes he will be able to

show that all actions taken by Defendant at issue were conducted maliciously, wantonly,

recklessly, intentionally, knowingly, and/or willfully, and with either the desire to harm Plaintiff




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and/or with the knowledge that its actions would very likely harm Plaintiff and/or that its actions

were taken in violation of the law.

       75.     At all relevant times, Defendant knew, and continues to know, that a debt

included in bankruptcy or discharged in bankruptcy, means the debt is not legally collectible, but

Defendant has made a corporate decision to willfully and maliciously act contrary to its

knowledge in its calculated decision to violate Plaintiff’s legal rights.

       76.     After a reasonable time for discovery, Plaintiff believes he will be able to show

that despite Defendant receiving dozens, if not hundreds, of disputes complaining about the types

of actions at issue, Defendant intentionally and knowingly has not corrected its policies of

engaging in these actions.

       77.     After a reasonable time for discovery, Plaintiff believes he will be able to show

that Defendant has engaged in a pattern and practice of wrongful and unlawful behavior, in

accordance with its policies and procedures, with respect to willfully, intentionally, and

maliciously attempting to collect on debts included in and discharged in bankruptcy.

Accordingly, Defendant is subject to punitive damages, statutory damages, and all other

appropriate measures to punish and deter similar future conduct by Defendant and similar

companies. Moreover, Plaintiff’s injuries resulted from Defendant’s malice and/or actual fraud,

which entitle Plaintiff to punitive damages.

       78.     Due to Defendant’s conduct, Plaintiff was forced to hire counsel and his damages

include reasonable attorney's fees incurred in prosecuting his claims.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Jerome M. Holmes, prays the

Court will:



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        A.      Enter judgment in favor of Plaintiff and against Defendant for statutory

 damages, actual damages, costs, and reasonable and necessary attorney’s fees for

 violations of the TDCA, FDCPA, Plaintiff’s privacy rights and the discharge injunction;

        B.      Find that appropriate circumstances exist for an award of punitive

 damages to Plaintiff;

        C.      Award Plaintiff pre-judgment and post-judgment interest as allowed by

 law; and

        D.      Grant such other and further relief, in law or equity, to which Plaintiff

 might show he is justly entitled.



                                     Respectfully submitted,


                                     /s/ Marilyn S. Altamira
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                                     COUNSEL FOR PLAINTIFF




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                                      JURY DEMAND

     Plaintiff hereby demands a trial by jury on all issues so triable.

November 1, 2016                             _____/s/ Marilyn S. Altamira__________
Date                                         Marilyn S. Altamira




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